                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re:                                              )
                                                    )               Chapter 11
SARAI SERVICES GROUP,           INC.,1              )
                                                    )               Case No. 18-82948-CRJ-11
                      Debtor.                       )               (Jointly Administered)

 CENTERSTATE BANK’S OBJECTION TO DEBTORS’ DISCLOSURE STATEMENT
                 AND PLAN OF REORGANIZATION

         COMES NOW CenterState Bank, N.A., f/k/a National Bank of Commerce

(“CenterState”), by and through its undersigned counsel, and hereby objects (this “Objection”) to

CM Holding, Inc.’s (“CM Holding”) Disclosure Statement (the “CM Holding Disclosure

Statement”) [Doc. No. 283] and to Debtors Sarai Services Group, Inc. (“SSG”), SSGWW JV

LLC (“SSGWW”), and Sarai Investment Corporation’s (“SIC,” and together with SSG and

SSGWW, “Sarai”) Disclosure Statement (the “Sarai Disclosure Statement”) [Doc. No. 281]. In

support of its Objection, CenterState shows the Court as follows:

                                JURISDICTION AND VENUE

         1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b).

         2.    Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

         3.    On October 3, 2018 (the “Petition Date”), the Debtors commenced with this Court

four voluntary cases under Chapter 11 of Title 11, United States Code (the “Bankruptcy Code”).

         4.    The Debtors continue to be authorized to operate their businesses as Debtors-in-

possession pursuant to 11 U.S.C. §§ 1107(a) and 1108. No trustee or examiner has been

         1
         In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWW
JV LLC, Case No. 18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-
11; and CM Holding, Inc., Case No. 18-82951-CRJ-11.




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appointed in these Chapter 11 cases, and as of the date hereof, no creditors’ committee has been

appointed.

       5.      On August 8, 2019, the Debtors filed its Plan and Disclosure Statement. [Doc.

No. 283 and 284].

                                   BACKGROUND FACTS

       6.      During the pendency of Debtors’ bankruptcy cases, the Debtors have commingled

funds, missed deadlines for monthly operating reports, and made loans between and among the

Debtor entities that were unauthorized by this Court.

       7.      These deficiencies have made it very difficult for parties in interest like

CenterState to properly evaluate the progress of these bankruptcy proceedings.           Similar

inadequacies in the Debtors’ Disclosure Statements continue to present obstacles for creditors in

evaluating whether to vote for Debtors’ proposed Plans.

       8.      For example, in the Debtors’ February 2019 Monthly Operating Reports [Doc.

Nos. 174-177], the Debtors briefly reference an inter-company loan that does not appear to have

been approved by this Court, and that does not appear to have been fully documented in the

Monthly Reports. On SSG’s February 2019 Monthly Report, the Debtors report that SSG

obtained $52,400.00 in “Loan Proceeds from BRM/SSGWWJV.” See Doc. No. 174, p. 2.

However, in SSGWW’s February 2019 Monthly Report, the Debtors state that SSGWW made a

$34,212.00 disbursement to SSG, which is referenced as “Loan to SSG / Bank Fees.” See Doc.

No. 174, p. 5. It is unclear what this loan was for or whether it was properly documented in the

Monthly Reports, as no Bankruptcy Court approval was requested to make the loan.

       9.      As another example, the Debtors’ January 2019 Monthly Operating Reports

[Doc. Nos. 142-145] reflect a similarly objectionable inter-company loan between the Debtors.



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CM Holding’s January 2019 Monthly Report states that in January 2019 CM Holding made

$18,055.00 in “Loans to SSG.” See Doc. No. 145, p. 2. Again, if an inter-company loan was

made, it does not appear that it was approved by this Bankruptcy Court.

       10.       Related issues appear in the Debtors’ Monthly Operating Reports in October and

November 2018, respectively. In its November 2018 Monthly Report, SSG reported that it

transferred $2,300 to CM Holding for rent, but there is not a corresponding deposit on the CM

Holding Monthly Report or attached Bank Statements.            Additionally, SSG’s bank account

statements from October 2018 reveal that CM Holdings transferred $2,200 to SSG on October 3,

2018. It is unclear why CM Holdings would be transferring money to SSG in these cases.

       11.       Additionally, the Debtors did not file their March 2019, April 2019, May 2019,

and June 2019 Monthly Operating Reports until after they were due, in many cases over a month

after they were due to be filed.

       12.       While these bankruptcy cases have been pending, it is unclear whether CM

Holding has been permitting the Sarai entities to occupy its real property located at 3405 Triana

Boulevard SW, Huntsville, AL 35805 (the “Real Property”) without having to pay rent.2 While

transfers from certain of the Sarai entities to CM Holding for rent appear on certain Monthly

Operating Reports, for many Monthly Operating Reports from 2019, it does not appear that CM

Holding has been charging any of the Sarai entities rent for occupying the Real Property.3




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           This Real Property is CenterState’s primary piece of collateral on its loan to CM
Holding.
       3
         In effect, CM Holding has been subsidizing Sarai’s creditors, by allowing Sarai to
continue operations at the Real Property rent free, at the expense of CM Holding’s creditors who
risk going unpaid while CM Holding allows its affiliates to use its primary asset without
receiving lease payments.


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       13.     As a result, it has been extremely difficult for CenterState to make an evaluation

about what the Real Property (its collateral) might be worth, given that it is very likely that CM

Holding has simply been allowing Sarai to occupy this space for little or no rent payments, and

without any written leases.

       14.     The CM Disclosure Statement and the Sarai Disclosure Statement fail to disclose

the terms by which CM Holdings leases out the Real Property. There is no documentation in

either Disclosure Statement about whether CM Holding leases out the Real Property to any of

the Sarai Debtor entities pursuant to any type of inter-company lease agreement, and if so, what

amount is owed in rent each month.

                                          OBJECTION

       15.     Section 1125 of the Bankruptcy Code requires a debtor, prior to soliciting votes

for the confirmation of a plan, to file a disclosure statement containing adequate information to

allow creditors and holders of equity interests to arrive at an informed judgment whether to

accept or reject the debtor’s plan. 11 U.S.C. § 1125. “Adequate information” is defined in

§ 1125(a)(1) of the Bankruptcy Code as “information of a kind, and in sufficient detail, as far as

is reasonably practicable in light of the nature and history of the debtor and the condition of the

debtor's books and records, that would enable a hypothetical, reasonable investor . . . to make an

informed judgment about the plan.” 11 U.S.C. § 1125(a)(1).

       16.     As stated by one court:

       The purpose behind disclosure statements is to inform the uninformed parties in
       interest (the typical “hypothetical investor”) in a formal and uniform way
       concerning the condition of the debtor ... [and] to furnish to the electorate to the
       confirmation process sufficient financial and operating information to enable each
       participant to make an “informed judgment” whether to approve or reject the
       proposed plan.

In re Snyder, 56 B.R. 1007, 1011 (Bankr. N.D. Ind. 1986).


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       17.     Adequate information includes a description of the business, relevant financial

information, a description of the plan, a liquidation analysis, projection of future operations, tax

consequences, and other relevant materials. Hall v. Vance, 887 F.2d 1041 (10th Cir. 1989).

       A.      The CM Disclosure Statement Lacks Adequate Information Regarding the
               Value of the Real Property or the Terms of Any Intercompany Leases
               Between the Debtors.

       18.     The CM Disclosure Statement does not provide adequate information as required

by § 1125 of the Bankruptcy Code. CenterState objects to the CM Disclosure Statement because

it does not provide any information regarding the potential value of the Real Property (as defined

in the Disclosure Statement), the amounts that the Real Property has earned for CM Holding over

the past year, or the amount for which Debtor expects that the Real Property might sell. See In

re Scioto Valley Mortgage Co., 88 B.R. 168, 170 (Bankr. S.D. Ohio 1988) (a disclosure

statement should include, among other items, “a complete description of the available assets and

its value,” including “valuation methods used to produce the [valuation] information in the

disclosure statement”); In re Metrocraft Pub. Services, Inc., 39 B.R. 567, 568 (Bankr. N.D. Ga.

1984) (same); see also In re Copy Crafters Quickprint, Inc., 92 B.R. 973, 981 (Bankr. N.D.N.Y.

1988) (noting that without a “recent valuation of the property by a qualified individual . . . the

Court is reluctant to approve a Disclosure Statement premised on an unsupported and self-

serving valuation”).

       19.     This deficiency is highlighted by the failure of the CM Disclosure Statement to

provide any information about the terms by which the Real Property is leased between CM

Holding and the other Debtors. It is unclear, based on the Debtors’ Monthly Operating Reports

and the Disclosure Statements, whether CM Holding leases the Real Property to Sarai under

some type of inter-company agreement, or whether CM Holding simply allows Sarai to occupy

the Real Property rent free.

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       20.     As the CM Disclosure Statement makes clear, the sole means by which the Debtor

intends to carry out the proposed Plan is through the “proceeds of the sale of the Real Property.”

See Disclosure Statement, § IV.C. However, due to the likelihood that CM Holding has been

allowing Sarai to occupy the Real Property without having to pay full, market-rate rent on a

routine basis, it is very difficult to tell what the Real Property might be worth. Without any

information about what the Real Property is worth, might plausibly sell for, or the price the

Debtor might accept to sell the Real Property at a potential auction, CenterState lacks the

necessary detail to determine whether to vote for or against the proposed Plan.

       21.     As a result of these deficiencies, the CM Disclosure Statement fails to provide

adequate information and should be disallowed.

       B.      The Sarai Disclosure Statement Lacks Adequate Information Regarding the
               Value of Assets and Details of Intercompany Loans.

       22.      CenterState also objects to the Sarai Disclosure Statement because it does not

provide adequate information regarding certain valuations the Debtors place upon their assets,

namely the valuation of accounts receivable and/or personal property, nor does it disclose with

specificity the methodology or standards used to appraise such property (i.e., collection forecasts,

deductions for uncollectable accounts, etc.). See id.

       23.     Additionally, the Sarai Disclosure Statement does not provide any insight into

whether certain of the Sarai Debtors have taken loans from other affiliated Sarai Debtors (or

from CM Holding), and whether those types of loans would be expected to continue after

confirmation. Without any detail about the terms of these inter-company loans among the Sarai

Debtors, Sarai’s creditors are not adequately informed to vote on a Plan.

       24.     The Sarai Disclosure Statement lacks any explanation regarding how the proposed

Plan arrived at its treatment of CenterState. The terms of SSG’s proposed Plan contemplate


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“equal monthly payments [to CenterState] over the course of a 120-month term with interest

accruing at the claim’s contractual rate of 4.50%, with a standard amortization schedule for the

term.” See Sarai Disclosure Statement, § IV.C. However, CenterState’s loan to SSG matures in

November 2022. SSG is proposing to extend the term of its loan with CenterState at least seven

years past the contractual maturity date, yet provides no analysis regarding the interest rate that

would provide CenterState the present value of an extended 10-year payment stream or the

interest rate that would comply with the factors outlined by the Supreme Court in Till v. SCS

Credit Corp., 541 U.S. 465, 124 S. Ct. 1951, 158 L. Ed. 2d 787 (2004).

       25.     Finally, the Sarai Disclosure Statement fails to provide any information about the

rental revenues received by SSG on its real property located at 3300 Westmill Drive, Huntsville

AL 35805, which is the property that secures CenterState’s loan to SSG.

       26.     The Sarai Disclosure Statement does not include the kind of detail that adequately

informs creditors regarding how to vote for the proposed Plan, and so the Sarai Disclosure

Statement should also be rejected by the Court.

                                RESERVATION OF RIGHTS

       CenterState hereby reserves all rights and claims with respect to all issues pertaining to

the confirmation of the proposed Plan and the Disclosure Statement, including but not limited to

further objections to the same, if additional grounds for objecting to the Plan and Disclosure

Statement exist.

                                        CONCLUSION

       As set forth above, the Disclosure Statements described herein do not comply with the

Bankruptcy Code and therefore cannot be approved pursuant to § 1125. Consequently, the

Debtors’ Disclosure Statements are due to be rejected.



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        WHEREFORE, premises considered, CenterState respectfully requests that this Court

enter an Order:

        (i)    disapproving the adequacy of the Disclosure Statement; and

        (ii)   denying confirmation of the Plan; and

        (ii)   granting such other, further and different relief to which CenterState may be

entitled.

Respectfully submitted this 11th day of September 2019.

                                                  /s/ James H. Haithcock, III
                                                  Joe A. Joseph
                                                  James H. Haithcock, III

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                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document has been served by Notice of Electronic
Filing, or, if the party served does not participate in Notice of Electronic Filing, by U.S. First
Class Mail, on this the 11th day of September 2019

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                                             /s/ James H. Haithcock, III
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